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Summary of Deposit Sources
Bank of America CHK 9633, Church of the Invisible Hand (Signer: N      N     )
March 2020 - June 2020 (closed)
Deposit Source                                      Count Total Deposited Percentage of Total
B      J          L.                                  1            $7,200.00             0.56%
B        ,L       J                                   1              $585.00             0.05%
Cash                                                  6           $15,600.00             1.22%
Deposit (Backup Missing)                             183         $843,101.87            66.09%
D ,J        C.                                        1           $25,400.00             1.99%
E         ,T           D.                             2            $3,600.00             0.28%
E ,J                                                  1           $10,000.00             0.78%
G     ,L           A.                                 3            $9,500.00             0.74%
G         ,C                                          2           $14,200.00             1.11%
G         ,S                                          2           $16,000.00             1.25%
H ,J           F.                                     1           $19,000.00             1.49%
H ,M                                                  2            $1,300.00             0.10%
K     ,B                                              1           $20,000.00             1.57%
Maker Unknown                                         10          $39,021.20             3.06%
P        V        O                                   3          $101,754.00             7.98%
Reformed Satanic Church                               1          $125,000.00             9.80%
T         ,N         A.                               5           $21,711.00             1.70%
W        ,S                                           1            $2,700.00             0.21%
Grand Total                                          226       $1,275,673.07          100.00%


Summary of Payees
Bank of America CHK 9633, Church of the Invisible Hand (Signer: N        N     )
March 2020 - June 2020 (closed)
Payee                                               Count       Total Paid    Percentage of Total
Account Closing Transaction                           1          -$350,051.07        27.44%
Bank Fee                                              35             -$420.00         0.03%
Church of the Invisible Ha                            1           -$19,670.00         1.54%
Freeman, Ian                                          13         -$540,131.00        42.34%
Transfer CHK 4893 (Reformed Satanic Church)           2          -$145,401.00        11.40%
Transfer CHK 6064                                     1          -$220,000.00        17.25%
Grand Total                                           53       -$1,275,673.07       100.00%




as of Februray 26, 2021
